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                         Exhibit A
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                         Exhibit B
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  Davis Po k & Wardwell     LLP    212 450 4000 tel
  450 Lexington Avenue
  New York, NY 10017




  May 5, 2020

  Re:          United States v. Emanuele Palma (Case No. 2:19-cr-20626-NGE)

  Via Electronic Mail

  Henry P. Van Dyck
  Kyle W. Maurer
  Jason M. Covert
  U.S. Department of Justice
  Fraud Section, Criminal Division
  1400 New York Avenue, N.W.
  Bond Building, 4th Floor
  Washington, DC 20005

  John K. Neal
  Timothy Wyse
  U.S. Attorney’s Office
  Eastern District of Michigan
  211 W. Fort Street, Suite 2001
  Detroit, MI 48226

  Todd W. Gleason
  U.S. Department of Justice
  Environmental Crimes Section
  601 D Street, N.W., 2nd Floor
  Washington, DC 20004

  Dear Counsel:

          We write in response to your letter dated April 22, 2020, regarding discovery in the above-
  captioned matter. Among other things, we write to set forth our position on the question of what
  constitutes the “prosecution team” and, in particular, our view of the controlling law.

          The government’s April 22 letter notes that the “prosecution team” in this matter is limited to
  “dedicated attorneys” and “dedicated law enforcement officers” within certain components of the
  U.S. Department of Justice (“DOJ”), the Federal Bureau of Investigation (“FBI”), and the
  Environmental Protection Agency (“EPA”). Further, the letter asserts that “civil regulatory agencies”
  are not part of the “prosecution team.” 1

          These assertions are, in our view, inconsistent with the controlling case law. We continue to
  believe that, as applied to the facts of this case, the “prosecution team” encompasses all individuals
  involved in the years-long investigation into the two core issues underlying the allegations in the

        1   See April 22, 2020 Letter at 3.

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  Indictment: whether the “Subject Vehicles”—as defined in the Indictment2—contained defeat
  devices, and whether the information that FCA employees conveyed to regulators about the Subject
  Vehicles was accurate and complete. At a minimum, the “prosecution team” must include all
  personnel from EPA, DOJ, the Securities & Exchange Commission (“SEC”), and California Air
  Resources Board (“CARB”) who participated in this investigation.

         In considering whether a government agency’s documents are sufficiently under the
  prosecution’s “control” for purposes of Rule 16 and Brady, courts look to whether the prosecutor has
  “knowledge of and access to” those documents. See United States v. Mills, No. 16-CR-20460, 2019
  WL 3423318, at *3 (E.D. Mich. July 30, 2019); United States v. Skaggs, 327 F.R.D. 165, 174 (S.D.
  Ohio 2018). “The prosecution is deemed to have knowledge of and access to material that is in the
  possession of any federal agency that participated in the investigation that led to defendant’s
  indictment, or that has otherwise cooperated with the prosecution.” Id.; see Mills, 2019 WL
  3423318, at *3.

          This includes civil agencies. See, e.g., United States v. Tyson, No. 1:18CR708, 2020 WL
  255533, at *2 (N.D. Ohio Jan. 16, 2020) (finding that “civil investigators,” including various agencies’
  inspectors general, were part of prosecution team); United States v. Happ, No. CR2-06-129(8), 2008
  WL 5101214, at *3 (S.D. Ohio Nov. 25, 2008) (same, with respect to the SEC); United States v. W.
  R. Grace, 401 F. Supp. 2d 1069, 1078 (D. Mont. 2005) (rejecting government’s argument in
  environmental crimes case that prosecution team was limited to DOJ and EPA-CID, and concluding
  that discovery obligations extended to other regulatory agencies, including EPA). In certain
  circumstances, courts have also extended disclosure obligations to state and local agencies. See
  Mills, 2019 WL 3423318, at *3 (“[W]hen the Government knows that some other agency had some
  involvement in the investigation of a defendant, including state and local investigative agencies, the
  Government must determine if those other agencies have information embraced within Rule
  16(a)(1)(E).” (internal quotation marks omitted)).

            In this case, individuals from several EPA components—including its Criminal Investigation
  Division, which the government acknowledges is part of the “prosecution team”—investigated the
  strategies described in the Indictment. Similarly, enforcement attorneys from DOJ’s Environmental
  and Natural Resources Division (“ENRD”), whom the government appears to characterize as part of
  a “civil regulatory agency,” questioned Mr. Palma and dozens of other witnesses about, and sued
  FCA over, the same issues at the heart of this prosecution. Individuals from these agencies
  unquestionably “participated in the investigation that led to defendant’s indictment.” Skaggs, 327
  F.R.D. at 174.

         For example, members of EPA’s Air Enforcement Division attended the June 29, 2016
  meeting with FCA, at which, the Indictment alleges, Mr. Palma made misstatements.3 The Air
  Enforcement Division, like EPA’s Criminal Investigation Division, sits within EPA’s Office of
  Enforcement and Compliance4—whose Assistant Administrator was quoted in the press release
  announcing Mr. Palma’s indictment.5 Attorneys from ENRD’s Environmental Enforcement Section


      2   See ¶ 7.
      3   See ¶ 72.
     4 See Environmental Protection Agency, “Organizational Chart for the Office of Enforcement and Compliance

  (OECA),” https://www.epa.gov/aboutepa/organization-chart-office-enforcement-and-compliance-assurance-oeca.
      5Department of Justice, “Senior Manager at Fiat Chrysler Automobiles Charged in Connection With a
  Conspiracy to Mislead Regulators and the Public about Diesel Vehicle Emissions” (Sept. 24, 2019),

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  also attended the June meeting, along with multiple members of CARB, who had been investigating
  the strategies underlying the Indictment for years and were co-plaintiffs in the suits brought by DOJ.
  Notably, none of the members of the prosecution team as defined in the government’s letter were
  present at the June 29, 2016 meeting, which means that individuals from these “civil regulatory
  authorities” necessarily “cooperated with the prosecution,” id., to provide information about the
  charges eventually brought against Mr. Palma.

           The prosecution team chose to include allegations about the June 29, 2016 meeting in the
  Indictment; the individuals from DOJ, CARB, and EPA who were centrally involved in that meeting
  cannot now be considered part of a distinct investigation in order to limit the scope of disclosure
  obligations. That is particularly true where those individuals are part of the same EPA office or DOJ
  division as the attorneys and agents the government has acknowledged are part of the prosecution
  team. Cf. United States v. Myr, No. 14-20633 (NGE), 2015 WL 5042321, at *4 (E.D. Mich. Aug. 26,
  2015), aff'd, 663 F. App’x 433 (6th Cir. 2016) (concluding that DOJ civil complaint was statement by
  a party opponent for hearsay purposes because it was “filed in court by a federal prosecutor who
  spoke for the same Justice Department that was prosecuting Defendant” (internal quotation marks
  omitted)); id. at *3 (“The Justice Department’s various offices ordinarily should be treated as an
  entity, the left hand of which is presumed to know what the right hand is doing.”).

           Similarly, materials in the government’s initial production reflect that SEC has been deposing
  witnesses involved in the events detailed in the Indictment’s allegations since at least June 2018.6
  The government acknowledged during our reverse proffer that it had knowledge of, and access to,
  Mr. Palma’s two SEC depositions and that the government reviewed those depositions before filing
  the Indictment. Those depositions focused on the same calibration strategies that form the basis of
  the allegations in the Indictment. That overlap is reinforced by the fact that the government quoted
  or cited Mr. Palma’s SEC testimony six times during our reverse proffer session.

          Accordingly, we renew our requests as directed to the prosecution team, as defined to
  include all relevant individuals from DOJ, EPA, CARB, and SEC. In particular, we renew our
  requests for:

           Notes, summaries, memoranda, or other documents that contain statements that Mr. Palma
            made to DOJ, EPA, or CARB regarding the Subject Vehicles, including any statements made
            at meetings on November 18, 2015; November 25, 2015; December 14, 2015; January 13,
            2016; June 29, 2016; and September 11, 2018. If notes or other materials do not exist with
            respect to statements made at one or more of these meetings, we request that the
            government identify the dates of such meetings and the asserted reason any statements by
            Mr. Palma were not memorialized.

           Documents reflecting emissions testing performed on the Subject Vehicles, including any
            tests purporting to measure emissions during “real world” driving (see, e.g., Indictment
            ¶¶ 34-39).

           All communications from 1/1/2017 to 1/1/2018 between FCA and EPA or CARB regarding
            agency approval of “tEngine,” “modeled engine temperature,” or “tCoolant” in the Subject
            Vehicles’ calibrations for subsequent model years.

  https://www.justice.gov/opa/pr/senior-manager-fiat-chrysler-automobiles-charged-connection-conspiracy-mislead-
  regulators-and.
      6   See DOJ-PROD-0002629583.

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          A review of the full prosecution team’s files for the categories of information listed in our
           December 19, 2019 Brady request letter.

          Finally, we renew our request for all documents provided by FCA counsel to the government
  during meetings or presentations.

                                               *       *        *
           Please let us know if you have any questions regarding these requests or wish to discuss
  them.

                                                        Respectfully,

                                                        /s/ Greg D. Andres
                                                        Greg D. Andres
                                                        Neil H. MacBride
                                                        Paul Nathanson
                                                        Davis Polk & Wardwell LLP

                                                        /s/ Kenneth M. Mogill
                                                        Kenneth M. Mogill
                                                        Mogill, Posner & Cohen




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                         Exhibit C
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                       UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                       NATIONAL VEHICLE AND FUEL EMISSIONS LABORATORY
                                      2565 PLYMOUTH ROAD
                                ANN ARBOR, MICHIGAN 48105-2498

                                                                                     OFFICE OF
                                                                                 AIR AND RADIATION




                                                  CD-15-24 (LDV)

                                                  September 25, 2015

     SUBJECT:       EPA Conducted Confirmatory Testing

     Dear Manufacturer:

     Per the regulations of 40 CFR §86.1809, EPA may test or require testing on any vehicle
     at a designated location, using driving cycles and conditions that may reasonably be
     expected to be encountered in normal operation and use, for the purposes of investigating
     a potential defeat device. Such testing can be expected in addition to the standard
     emissions test cycles when Emissions Data Vehicles (EDV), and Fuel Economy Data
     Vehicles (FEDV) are tested by EPA.

     Manufacturers should expect that this additional testing may add time to the confirmatory
     test process and that additional mileage may be accumulated on the EDVs and FEDVs.

     The regulations of 40 CFR §86.1836 also require manufacturers to supply production
     vehicles for testing upon request.

     If you have any questions, please contact your certification team representative or Linc
     Wehrly at 734-214-4286 or by email at wehrly.linc@epa.gov.


                                                  Sincerely,



                                                  Byron J. Bunker, Director
                                                  Compliance Division
                                                  Office of Transportation and Air Quality
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                         Exhibit D
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                                                      U.S. Department of Justice

                                                      Criminal Division



  Fraud Section                                       Washington, D.C. 20530



                                                      June 8, 2020

  Greg D. Andres, Esq.
  Neil H. MacBride, Esq.
  Davis Polk & Wardwell LLP
  901 15th Street NW
  Washington, DC 20005

  Kenneth M. Mogill, Esq.
  Mogill, Posner & Cohen
  27 E. Flint Street, 2nd Floor
  Lake Orion, MI 48362

  Re:      United States v. Emanuele Palma, Case No. 2:19-cr-20626-NGE-DRG

  Dear Messrs. Andres, MacBride and Mogill:

           We are writing to provide notice with respect to certain testimony the government may
  present through Byron Bunker, the Director of the Compliance Division of the U.S. Environmental
  Protection Agency’s (EPA) Office of Transportation and Air Quality (OTAQ). Please note that
  while we have summarized Mr. Bunker’s potential testimony through this notice, the government
  does not believe that such testimony constitutes expert testimony pursuant to Federal Rules of
  Evidence 702, 703, and 705. Instead, the government believes that such testimony is properly
  admissible through Mr. Bunker without regard to his expertise as he is a fact witness who was
  personally involved with the certification process for the Subject Vehicles, and any opinions he
  offers are admissible as lay opinion testimony pursuant to Federal Rule of Evidence 701. Thus,
  our notice to you is offered out of an abundance of caution, and because our agreed upon
  scheduling order provides that any potential expert testimony must be disclosed four months prior
  to trial, and in advance of any evidentiary rulings from the court.

        A. Qualifications

           A copy of Mr. Bunker’s curriculum vitae (“CV”) setting out his qualifications in greater
  detail is attached.

        B. Bases and Reasons for Opinions

          Mr. Bunker is the Director of the Compliance Division of the EPA’s Office of
  Transportation and Air Quality (OTAQ). In this role, Mr. Bunker is familiar with the testing and
  certification of the Subject Vehicles at issue in this case. He also spoke and met with FCA
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  employees, including Mr. Palma, after the EPA issued FCA certificates of conformity for the
  Subject Vehicles.

          Mr. Bunker’s testimony will include an overview of the relevant regulatory framework, as
  well as the results and conclusions drawn from the EPA’s testing of the Subject Vehicles. Mr.
  Bunker will testify based on his familiarity with the testing and certification process with respect
  to the Subject Vehicles, as well as his years of experience interpreting, applying, and advising
  others on compliance with the applicable laws, rules, and regulations governing the testing and
  certification of motor vehicles.

         In addition, Mr. Bunker will testify in response to hypothetical questions about information
  that Mr. Palma caused to be presented to Mr. Bunker and the EPA, as well as information that Mr.
  Palma caused not to be disclosed to Mr. Bunker and the EPA. These hypothetical questions will
  ask Mr. Bunker to explain through his testimony whether he and the EPA relied on certain facts,
  and whether other facts that were not disclosed could have been important to him and the EPA in
  making decisions and acting with respect to the Subject Vehicles.

     C. Testimony

         1) The relevant regulatory framework

         We expect that Mr. Bunker will testify about the regulatory framework and the role of the
  EPA with respect to the manufacture and sale of automobiles in the United States (see
  Indictment ¶¶ 9-23), including:

         The organizational structure of the EPA;

         The regulatory scheme by which the EPA operates and carries out its function;

         The purpose of the certificate of conformity process;

         The role of regulations in Mr. Bunker’s performance of his duties;

         The requirements that automobile manufacturers must meet in order to obtain a
         certification for vehicles, including the interplay between federal and California
         requirements;

         The definition of an AECD and its relevance to the certification process;

         The information that is required in an application for a certificate of conformity and its
         importance to Mr. Bunker in the performance of his duties and to the EPA; and

         The roles and responsibilities of Mr. Bunker and his team in evaluating whether to grant
         an automobile manufacturer a certificate of conformity for its vehicles.

         2) Testimony about emissions test results from the Subject Vehicles
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         We expect Mr. Bunker to testify as to the tests performed by the EPA on the Subject
  Vehicles, including:

         A description of the EGR system, the SCR system, and the valve train cleaning routine
         on the Subject Vehicles, and how those systems impacted emissions on the Subject
         Vehicles as reflected by EPA Testing (see Indictment at ¶¶ 24-29);

         A description of the emissions tests performed by the EPA on the Subject Vehicles, and
         the results of those tests; and

         The EPA’s conclusions about the Subject Vehicles, including that the vehicles produced
         significantly less NOx emissions on the federal test procedures than when the Subject
         Vehicles were being driven by FCA’s customers “off cycle” or in real world driving
         conditions, and that these results were not consistent with Mr. Bunker’s or the EPA’s
         expectations and regulatory requirements.

         3) Testimony about whether Mr. Bunker and the EPA relied on the information
            Mr. Palma caused to be presented to the EPA, and whether other facts that were
            not disclosed could have been important to Mr. Bunker and the EPA in making
            decisions and taking action with respect to the Subject Vehicles

          We expect to elicit testimony from Mr. Bunker about the information that Mr. Palma
  caused to be submitted to the EPA, and whether Mr. Bunker and the EPA relied on that
  information. We also expect that Mr. Bunker will be asked to respond to hypothetical questions
  as to the potential effect of the information that was not disclosed to Mr. Bunker and the EPA on
  the EPA’s processes and decision-making. These hypothetical questions would include
  questions as to why Mr. Bunker and the EPA would have wanted to know certain information,
  and how that information could have impacted Mr. Bunker and the EPA’s review of FCA’s
  applications for certificates of conformity. We anticipate that Mr. Bunker’s answers to these
  questions would be based on his experience and personal knowledge of the Subject Vehicles, as
  well as experience and personal knowledge he acquired and applied through his employment
  with the EPA.

                                               * * *

         If you have any questions, please do not hesitate to contact us.


                                                       Sincerely,

                                                       /s/ Henry Van Dyck
                                                       Henry Van Dyck
                                                       Principal Assistant Chief
                                                       Kyle W. Maurer
                                                       Jason M. Covert
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                                                                                      4


                                           Trial Attorneys
                                           Market Integrity and Major Frauds Unit
                                           U.S. Department of Justice
                                           Criminal Division, Fraud Section

                                           John K. Neal
                                           Chief, White Collar Crime Unit Assistant
                                           United States Attorney
                                           Timothy J. Wyse
                                           Assistant United States Attorney
                                           Eastern District of Michigan

                                           Todd W. Gleason
                                           Senior Trial Attorney
                                           Environmental Crimes Section
                                           Environment & Natural Resources Division
                                           United States Department of Justice
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                                          Byron J. Bunker

                                                                       Daytime Phone: (734) 214
  Bunker.Byron@epa.gov



  Work Experience:
  Division Director, Compliance Division                                    Oct 2011  Present
  US Environmental Protection Agency                                        Grade Level: SES
  Ann Arbor, MI

  Oversee all compliance efforts related to implementation of mobile source engine, vehicle and fuels
  programs. Issue approximately 5,000 vehicle and engine certificates annually and administer a fuels
  program that reviews more than 6 million reports annually from fuel producers and operators. Oversee
  a staff of more than 70 individuals split between locations in Washington, DC and Ann Arbor, MI.
  Set priorities for the division and work to create a shared vision of our dual roles to provide compliance
  assistance and compliance assurance.

  Accomplishments:
        Work with the six center directors to create budget priorities that align with the Agencys
        priorities focusing in particular on workflow efficiency improvements through Information
        Technology (IT) development and greater in use compliance effectiveness through emissions
        testing programs.
        Direct vehicle and engine compliance strategy development and implementation.
        Oversee an $10 million dollar budget and track spending against budget priorities.
        Engage in high level dialogue with the full range of Agency stakeholders, including the regulated
        industries, industry trade groups, the non governmental organization (NGO) community, and
        other Federal and State agencies.
        Set hiring priorities and oversee recruitment of new staff in support of program priorities.
        Lead efforts to implement new and existing light duty and heavy duty engine and vehicle
        standards including the latest greenhouse gas emissions standards.
        Implement and oversee reporting structures to track engine and vehicle certification processes
        Oversee E15 fuel registration and approval process.
        Issue technical and economic hardship waivers under both fuels and engine programs.
        Support enforcement actions in the renewable fuels credit program.
        Support enforcement actions in the engine and vehicles program.
        Oversee EPA defect and recall programs for vehicles and engines.
        Oversee fuel and fuel additives registration program.




                                                      1
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  Center Director, Heavy Duty Onroad Center                               Aug 2006  Sept 2011
  US Environmental Protection Agency                                      Grade Level: GS 15
  Ann Arbor, MI

  Responsible for all regulatory development programs relating to heavy duty engines and vehicles.
  Manage a staff with 17 direct reports including the highest fraction of new employees of any center in
  the division.

  Accomplishments:
         Created biweekly center meetings and significant action report system to manage group and
         facilitate staff development. Gave leadership opportunities to staff on all aspects of projects to
         create a sense of empowerment and help develop staff initiative.
         Heavy Duty GHG Rule: Led rulemaking effort to develop first ever greenhouse gas (GHG)
         emission standards for heavy duty engines and vehicles. Created and set the vision for the
         program including initiating the first use of a computer based vehicle model for certification
         testing. Worked collaboratively with stakeholders to create support for the program
         culminating in letters of support to develop the rule and created an environment where
         prominent industry leaders chose to stand with the President to announce the final rulemaking.
         Coordinated rulemaking efforts with the National Highway Traffic Safety Administration
         (NHTSA) and the California Air Resources Board (CARB). Made high level presentations to the
         EPA Administrator, the Office of Management and Budget, the Presidents Council of Economic
         Advisors, the NHTSA Administrator and a wide range of industry and NGO stakeholders.
         Worked to promote international harmonization with presentations and meetings with the
         European Commission, European truck and engine manufacturers, international NGOs, the
         Japanese Ministry of Land Infrastructure and Transport, Japanese truck and engine
         manufacturers, Transport Canada and Environment Canada.
         C3 Rule and IMO Treaty: Led rulemaking effort and international negotiations to create an
         Emissions Control Area (ECA) extending 200 nautical miles around the United States that will
         require ocean going vessels to reduce emissions by approximately 90 percent through the use
         of cleaner fuels. Led and coordinated a twenty five plus person rulemaking team to complete a
         comprehensive rulemaking analysis against a very aggressive schedule. Collaborated with Coast
         Guard, US State Department, the National Oceanic and Atmospheric Administration,
         Environment Canada, and Transport Canada to develop a proposal to amend the International
         Maritime Organization (IMO) Marine Pollution (MARPOL) Annex VI treaty creating the ECA.
         Built an international coalition from a wide range of stakeholders including international
         shipping organizations, the European Commission, individual European member states including
         Germany, France, United Kingdom, Norway, and Denmark, and international NGOs to help push
         for passage of the proposed Annex VI amends at IMO. Made high level presentations to the
         International Maritime Organization, the European Commission, individual country delegations
         from most of Europe, Japan, and Singapore.
         Locomotive and Marine Diesel Rule: Led rulemaking effort to set new emissions standards for
         locomotive and smaller domestic marine engines. Led and coordinated a rulemaking team with



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          more than 25 people. Managed a highly contentious stakeholder relationship with General
          Electric (GE) Locomotive leading to several high stakes meetings and presentations made to GE
          and EPA senior management. Efforts eventually resulted in GEs support of the Agency proposal
          and post rulemaking invitations to speak at GE about the program. Worked with the American
          Waterways Operators (AWO) and the Engine Manufacturers Association (EMA) to build support
          for the rulemaking effort. Developed a novel engine rebuild provision designed to address the
          significant emissions issue for legacy marine diesel products.
          Light Duty 2012 2016 Rulemaking Team: Supported rulemaking team with technical and
          economic analyses to estimate indirect costs for emission control technologies. Represented
          the Agency in high level meetings with the Office of Management and Budget on these
          analyses.
          Light Duty 2017 2025 Rulemaking Team: Supported rulemaking proposal with technical
          analyses and stakeholder interactions to evaluate the potential for light duty pickup trucks to
          substantially reduce greenhouse gases and improve fuel efficiency in the 2017 2025 timeframe.
          Heavy Duty Onboard Diagnostics (HDOBD) Rule: Responsible for the overall rule development
          to create new onboard diagnostic standards for heavy duty trucks and engines.


  Mechanical Engineer                                                    Feb 1999  Aug 2006
  US Environmental Protection Agency                                     Grade Level: GS 13 & 14
  Ann Arbor, MI

  Mechanical engineer and team leader on regulatory programs and emissions inventory modeling
  programs in the Assessment and Standards Division of EPAs Office of Transportation and Air Quality.

  Accomplishments:
        Diesel Progress Reviews: Led division efforts to monitor technical developments for
        implementation of the heavy duty 2007 (HD 2007) rulemaking standards and the Nonroad Tier 4
        standards. In both cases, the challenging technology forcing standards led to ongoing pressure
        for the Agency to reconsider the standards. In response, led an ongoing review of technology
        development organizing multiple technology review tours to development facilities throughout
        the US, in Europe and in Japan. Produced two technology review reports demonstrating that
        technology development was progressing as expected. Made numerous high level
        presentations on technology development to the European Commission and Japanese
        government ministries.
        HD 2007 Rule & Nonroad Tier 4 Rule: Led tech feasibility analysis and compliance cost analyses
        for the HD2007 rulemaking and the Nonroad Tier 4 rulemaking. Primary author for preamble,
        regulatory impact analysis and response to comment sections related to technological feasibility
        and cost. Engaged in technical outreach with the regulated industry and NGO community.
        Made presentations to EPA management and the Office of Management Budget regarding all
        aspects of the analyses.
        Engine Test Programs: NOx adsorber demonstration team that demonstrated the potential to
        meet the HD2007 emission standards in 2000.



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         Nonroad Tier 3 Technology Review: Comprehensive review of the need for fuel sulfur control
         to meet the Tier 3 nonroad engine standards.
         Tier 2 Rulemaking Team: Technical analysis of the potential for light duty diesel engines to
         meet the proposed Tier 2 standards.

  Senior Systems Engineer                                               Jun 1997  Jan 1999
  European Engine Alliance (EEA) / Cummins Engine Company
  High Wycombe, United Kingdom

  Senior systems engineer responsible to integrate the electronic control system hardware and software
  for a new engine design.

  Accomplishments:
        Supported prototype engine builds and vehicle tests at manufacturing plants and research
        facilities in Italy, Switzerland, Germany, the United States and the United Kingdom.
        Developed software calibrations to improve vehicle performance and satisfy customer
        expectations.
        Managed software release process across multiple product release processes.
        Implemented control system software and calibrations for the first application of a high
        pressure common rail fuel system to a heavy duty engine.
        Coordinated work of multinational engineering team across multiple facilities.
        Managed wiring harness and sensor release process


  Engineer  Advanced Engineering Department                                    Aug 1994  Jun 1997
  Cummins Engine Company
  Columbus, IN

  Research engineer in advanced concepts department. Worked to prove and develop new technologies
  for diesel and spark ignited (natural gas) engines. The work included both individual (largely self
  directed) project work as well as project work in a team environment.

  Accomplishments:

         Project leader responsible for development of an electro magnetically actuated valve system for
         a heavy duty diesel engine. Provided controls and performance specifications to Cummins
         supplier Aura Systems, Inc and coordinated engineering work between Cummins Advanced
         Engineering Department, Aura Systems and Eaton Corporation. Led systems level Failure Mode
         Effects Analysis (FMEA) of the system and of competing approaches from Ford Motor Company
         and others.
         Part of team that launched the first heavy duty diesel engine in North America to use exhaust
         gas recirculation (EGR) to reduce emissions. Worked to improve the reliability of the EGR valve
         and Throttle Position Sensor (TPS).



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          Modified existing computer based control system to support newly developed prototype fuel
          system. Developed the control algorithms, wrote the control code, and tested the complete
          system including fuel system hardware.
          Member of fuel system design and development team. Contributed to injector design elements
          including injector needle, tracked prototype hardware procurement, system build, and tested
          prototype injector assemblies.
          Evaluation of cerium and platinum based fuel additives for passive diesel particulate filter (DPF)
          regeneration and emissions catalysis. Coupled with an experimental exhaust gas recirculation
          (EGR) system this program demonstrated EPA 2004 emissions performance levels in early 1997.
          Led a process improvement team to develop a database system to tract prototype engine builds
          and performance data. Completed the database programming using Microsoft Access.
          Received two patents for engineering products developed at Cummins.


  Graduate Research Assistant                                                      Sept 1992  July 1994
  Ray Herrick Laboratories, Purdue University
  West Lafayette, IN

  Developed models for both diesel and gasoline engines using system identification techniques, applied
  frequency domain control techniques to control an engine/dynamometer test cell and to regulate the
  idle speed of a port fuel injected gasoline engine.

  Student Engineer                                                    June August 1990, 1991, & 1992
  Southwest Research Institute
  San Antonio, TX

  Self directed research to develop a lean burn NOx catalyst using ion exchange techniques on zeolite
  coated catalyst substrates. Bench tested the catalysts using diesel exhaust and evaluated catalyst
  performance to reduce NOx emissions.

  Designed and built engineering test stand fixtures for the qualification of automotive fuels, hydraulic
  fluids, and lubricants. Test stands included, Massey Ferguson Independent Power Take Off Test Stand,
  Massey Ferguson Four Square Gear Wear Test Stand, Port Fuel Injection Flow Metering Stand, and Fuel
  Injector Leak Stand.




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  Education:
  Masters of Science in Mechanical Engineering (MSME), Purdue University, West Lafayette, IN 1994
  Thesis: Multi variable Control of a Diesel Engine Dynamometer System

  Bachelor of Science in Mechanical Engineering (BSME), Texas A&M University, College Station, TX 1992
  Undergraduate Research Fellowship: A Parametric Study of Important Operating and Design Conditions
  for a Coal Water Slurry Diesel Engine.

  Publications and Patents:
  Robust Multivariable Control of an Engine Dynamometer System, December 1994
  American Society of Mechanical Engineers (ASME) Dynamic Systems and Control Division

  Robust Multivariable Control of an Engine Dynamometer System, March 1997
  Journal of the Institute of Electrical and Electronics Engineers (IEEE)

  Patent 6,779,339  Method for NOx Adsorber Desulfonation in a Multi Path Exhaust System
  Patent 6,067,946  Dual Pressure Valve Actuation System
  Patent 6,056,264  Solenoid Actuated Flow Control Valve Assembly


  Awards:
  Partnership for Public Service, Federal Employee of the Year 2017 (with other VW team members)
  Five Gold Medals for Exceptional Service
  Two Siver Medals for Superior Service
  Two Bronze Medals for Commendable Service
  OTAQ Q Award for exceptional leadership
  EPA Science Achievement Award in Engineering




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                          Exhibit E
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         From: Caballero, Kathryn
         Sent: Monday, June 27, 2016 2:32 PM
         To: Martel, Jonathan S.; Gross, Joel M.
         Cc: Rende, Leigh (ENRD); Warren, Joe (ENRD); Meisenbach, Caitlin; Kiyota, Diane@ARB
         Subject: FCA meeting logistics
         Jonathan and Joel, we’ve finalized the logistics for our FCA meeting on Wednesday, June 29. As you
         have suggested, we’d like to start at noon ET. I’ve provided the foreign visitor information for Mr.
         Palma to our security team and will let you know if there are further questions. Our in-person
         attendees are:
         Phill Brooks (AED)
         Evan Belser (AED)
         Kathryn Caballero (AED)
         Eleanor Kane (AED)
         Caitlin Meisenbach (AED)
         Greg Orehowsky (AED)
         Johanna Oh (AED)
         Chris Grundler (OTAQ)
         Byron Bunker (OTAQ)
         Joel Ball (OTAQ)
         Leigh Rende (DOJ)
         Joe Warren (DOJ)
         Annette Hebert (ARB)
         ARB’s Diane Kiyota will provide the names of those attending via the video link. We’d like to be able
         to provide those individuals any materials that you may present so that they can fully participate in
         the meeting. Will you be providing any materials in advance? If not, for any presentation materials,
         can you arrange for the materials to be sent via email to Diane Kiyota when the meeting begins so she
           can share them with the ARB team?
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         Our agenda is fairly simple ECF   No. 35-2
                                     and identified     filed 07/08/20
                                                    below.                                          PageID.255              Page 29 of 32
           AGENDA:
                " Welcome and Introductions
                " FCA presentation in response to EPA May 27, 2016 letter
                " EPA/DOJ questions
                " CARB questions
                " Next steps
           Please let us know if you have any questions. Thanks.
           Kathryn Pirrotta Caballero
           Attorney-Advisor
           U.S. EPA Office of Civil Enforcement
           Air Enforcement Division

           Mailing address:
           U.S. Environmental Protection Agency
           1200 Pennsylvania Avenue, NW (2242A)
           Washington, DC 20460
           Courier and express deliveries:
           U.S. Environmental Protection Agency
           Clinton Building - South
           1200 Pennsylvania Avenue, NW
           Room 1147A
           Washington, DC 20004

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           http://www.arnoldporter.com
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                          Exhibit F
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